838 F.2d 470
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.David L. CAMPBELL, Plaintiff-Appellant,v.DEPARTMENT OF REHABILITATION AND CORRECTIONS;  J.L.Eichenlaub, Southern Ohio Correctional FacilityInspector;  Ralph Smith, Hospital Adm.;Harjit S. Bharmoto, Dr.,Defendants-Appellees.
    No. 88-3018.
    United States Court of Appeals, Sixth Circuit.
    Feb. 5, 1988.
    
      Before BOYCE F. MARTIN, Jr., RALPH B. GUY, Jr., and BOGGS, Circuit Judges.
    
    ORDER
    
      1
      This appeal has been referred to a panel of the court pursuant to Rule 9(a), Rules of the Sixth Circuit.
    
    
      2
      A review of the file indicates that the magistrate's report and recommendation was filed and entered on December 21, 1987.  Appellant appealed from that report and recommendation on December 30, 1987.
    
    
      3
      An order of the magistrate is not appealable unless the magistrate is given plenary jurisdiction by the district court and by consent of the parties pursuant to 28 U.S.C. Sec. 636(c)(1).    Ambrose v. Welch, 729 F.2d 1084 (6th Cir.1984) (per curiam);  Trufant v. Autocon, Inc., 729 F.2d 308 (5th Cir.1984).  The magistrate was not given plenary jurisdiction in this case.  The report and recommendation was filed as provided by 28 U.S.C. Sec. 636(b)(1).
    
    
      4
      It is ORDERED that the appeal be and hereby is dismissed for lack of jurisdiction.  Rule 9(b)(1), Rules of the Sixth Circuit.
    
    